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 1                                                              JUDGE RICHARD A. JONES
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 5
                               UNITED STATES DISTRICT COURT
 6
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8
     UNITED STATES OF AMERICA,                     )   No. CR14-145-RAJ
 9                                                 )
                      Plaintiff,                   )
10                                                 )
                vs.                                )   ORDER GRANTING STIPULATED
11                                                 )   MOTION TO CONTINUE PRETRIAL
     JORGE CARLOS CAMPS,                           )   MOTIONS DUE DATE
12   ROGER LEE HIDDLESTON,                         )
                                                   )
13                    Defendants.                  )
14          Upon the stipulation of the parties to continue the pretrial motions due date in

15   the above-captioned case, and for the reasons stated in the Stipulated Motion to

16   Continue Pretrial Motions Due Date, the Court finds that such a continuance would

17   serve the ends of justice, therefore,

18          IT IS HEREBY ORDERED that the parties’ Stipulated Motion to Continue

19   Pretrial Motions Due Date (Dkt. #29) is GRANTED. All pretrial motions, including

20   motions in limine, shall be filed by October 16, 2014.

21          DATED this 26th day of September, 2014.

22
23
                                                        A
                                                        The Honorable Richard A. Jones
24                                                      United States District Judge
25
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                                                                  FEDERAL PUBLIC DEFENDER
      ORDER GRANTING STIPULATED MOTION TO                            1601 Fifth Avenue, Suite 700
      CONTINUE PTM DUE DATE - 1                                        Seattle, Washington 98101
                                                                                  (206) 553-1100
